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                               HEARING MINUTES

 Cause No:       4:24-CV-551
 Style:          Luna et al v. PHH Mortgage Corporation
 Hearing Type: Show cause hearing

Appearances:
 Counsel                                     Representing


 Angela Walter                               Plaintiffs

 Helen Onome Turner                          Defendant




 Date: June 28, 2024                         Court reporter: ERO
 Time: 1:17 p.m.—1:29 p.m.                   Law Clerk: L. McKinney



At the hearing, the following rulings were made as stated on the record:

      The Court held a show cause hearing. The Court accepted Plaintiffs’ counsel’s
      explanation for her failure to attend the initial conference in this case. The Court
      recessed the hearing in order to consider the pending motion to dismiss and
      motion to withdraw. The Court will reconvene the hearing if necessary.
